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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

 

SHREVEPORT DIVISION
MORRIS & DICKSON CO., LLC CIVIL ACTION NO.: 18-0605
VERSUS JUDGE ELIZABETH ERNY FOOTE

JEFFERSON B. SESSIONS, III, ET AL. MAGISTRATE .IUDGE HORNSBY

 

JUDGMENT
Considering the motion to dismiss filed by Morris & Dickson Co., LLC (“Morris & *
Dickson”) [Record Document 31],
IT IS ORDERED, ADJUDGED, and DECREED that the motion is GRANTED, and
Morris & Dickson’s claims are hereby DISMISSED WITHOUT PREJUDICE.
IT IS FURTHER ORDERED that any pending motions are DENIED AS MOOT.
The Clerk of Court is now requested to close this case.

THUS DONE AND SIGNED in Shreveport, Louisiana, this 22nd day of May, 2018.
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ELIZABETH FOOTE
UNITED STAT D CT JUDGE

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